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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                 Judge William J. Martínez

   Civil Action No. 17-cv-0620-WJM-STV

   JULIE ANN MEADE, Administrator, Uniform Consumer Credit,

          Plaintiff,

   v.

   AVANT OF COLORADO, LLC, d/b/a Avant, and
   AVANT, INC.,

          Defendants.


               ORDER ADOPTING RECOMMENDATION AND REMANDING CASE


          Now before the Court in this financial regulation action is the Plaintiff’s Motion to

   Remand for Lack of Subject Matter Jurisdiction (ECF No. 28 (the “Motion)), and the

   Recommendation entered by U.S. Magistrate Judge Scott T. Varholak that Plaintiff’s

   Motion should be granted (ECF No. 62 (the “Recommendation”)). For the reasons

   explained below, the Recommendation is adopted, the Motion is granted, and this case

   will be remanded to Denver District Court.

                              I. PROCEDURAL BACKGROUND

          This action seeking to enforce Colorado statutes is brought by Plaintiff, Julie Ann

   Meade, the Administrator of the Colorado Uniform Consumer Credit Code (the

   “Administrator”) against Defendants Avant of Colorado, LLC and Avant, Inc. (together,

   “Avant”).

          The Administrator filed this action in Denver District Court, alleging Avant had

   violated Colorado’s statutory limits on excessive finance and delinquency charges
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   Colorado Revised Statutes §§ 5-2-201 & -203, as to certain consum er credit loans

   further described below, and also that the terms of those loans included an unlawful

   choice of law provision, in violation of Colorado Revised Statutes § 5-1-201(8). (See

   generally ECF No. 6.)

          Avant removed the action on March 9, 2017 under 28 U.S.C. § 1441(a), arg uing

   that this Court has federal subject matter jurisdiction under 28 U.S.C. § 1331 “because

   Congress has completely preempted the state law claims at issue in this case,”

   specifically, that Section 27 of the Federal Deposit Insurance Act (as amended by the

   Depository Institutions Deregulation and Monetary Control Act of 1980, Pub. L. No. 96-

   221 (“DIDA” or “DIDMCA”)), codified at 12 U.S.C. § 1831d, 1 “provides the exclusive

   cause of action for the harm alleged by the Administrator,” and allows Avant to impose

   finance and delinquency charges in excess of what Colorado law would permit,

   because Avant’s loans were initiated by WebBank, a federally insured bank chartered

   in Utah, where comparatively permissive usury laws would permit the charges and

   interest at issue here. (ECF No. 1 ¶¶ 13, 21–22.)

          The Administrator filed her Motion to Remand for Lack of Subject Matter

   Jurisdiction on March 31, 2017. (ECF No. 28 (the “Motion”).) The Motion has been

   fully briefed, including multiple briefs submitted by amici curiae in the banking and




          1
             Some decisions cited in this Order cite this statute as DIDA, while others refer to it as
   the FDIA, or more specifically, Section 27. For consistency with the Recommendation and the
   parties’ briefing, the Court uses “Section 27,” interchangeably with citation to 12 U.S.C.
   § 1831d.

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   lending industry. (See ECF Nos. 41, 44-1, 49, 51, 58.) 2 The undersigned referred the

   Motion to United States Magistrate Judge Scott T. Varholak for a Recommendation.

   Judge Varholak held oral argument on the Motion (ECF Nos. 59, 61), and entered his

   written Recommendation that the Motion should be granted (ECF No. 62). Avant timely

   filed an Objection to the Recommendation pursuant to Federal Rule of Civil Procedure

   72(b) (ECF No. 69); an additional amicus brief was filed by WebBank in support of

   Avant’s Objection (ECF No. 68-1); and the Administrator has responded (ECF No. 73).

                                 II. FACTUAL BACKGROUND

          No party objects to the Recommendation’s summary of the relevant factual

   background, which, in the interest of simplicity, the Court adopts in full and

   incorporates herein:

                 The Administrator is authorized to enforce compliance with
                 the Colorado Uniform Consumer Credit Code (UCCC), see
                 generally Colo. Rev. Stat. § 5-6-104, including conducting
                 investigations of violations of the UCCC, id. §§ 5-6-106,
                 5-2-305, issuing cease and desist orders for violations of the
                 UCCC, id. § 5-6-109, and initiating civil actions against
                 creditors “for making or collecting charges in excess of those
                 permitted by this code,” id. § 5-6-114. In a civil action, the
                 Administrator may seek injunctive relief “to restrain a person
                 from violating” the code, id. § 5-6-111, and to prevent a
                 creditor or person from “[m]aking or enforcing
                 unconscionable terms or provisions of consumer credit
                 transactions,” or engaging in fraudulent conduct to induce
                 consumers to enter credit transactions, id. § 5-6-112. The


          2
            A closely related Motion to Remand has been fully briefed and is pending in Meade v.
   Marlette Funding LLC, Case No. 1:17-cv-0575-PAB-MJW (D. Colo.), while in another action,
   Cross River Bank v. Meade, Case No. 1:17-cv-0832-PAB-KMT, the plaintiff filed suit against the
   Administrator, affirmatively seeking declaratory and injunctive relief from the Administrator’s
   enforcement action, and the Administrator has filed a Motion to Dismiss raising largely the
   same jurisdictional issues addressed here. Additional amicus briefs have been filed in both of
   those actions, and the Court is advised of the arguments raised.

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              Administrator may seek civil penalties and refunds to
              consumers against creditors charging fees in excess of
              those allowed by the UCCC. Id. § 5-6-114.

              Defendant Avant of CO, a limited liability company organized
              under the laws of Delaware, and a subsidiary of Defendant
              Avant, Inc., applied to the Administrator for a Colorado
              supervised lender’s license in March 2013. [#6 at 2, 4]
              According to the Administrator, Avant of CO sought the
              license for the purpose of “making (i.e., originating) small
              installment loans of $1,000 or less” and “making (i.e.,
              originating) unsecured loans or loans secured by personal
              property and/or autos.” [Id. at 5] Avant of CO became a
              Colorado supervised lender. [Id. at 6]

              Avant, Inc. entered into a lending program agreement with
              WebBank, a Utah-chartered industrial bank in 2014. [ Id. at
              25] Pursuant to the agreement, WebBank makes loans to
              consumers [id. at 27], who apply for and obtain loans
              through Avant, Inc.’s website (“Avant Loans”) [id. at 7-8].
              Within two business days of when the Avant Loans are
              made, WebBank sells the loans to third-party purchasers,
              including Avant, Inc., or an Avant, Inc. non-bank affiliate.
              [Id. at 28; #41 at 4]

              The Administrator argues that WebBank is “not the true
              lender of the Avant Loans” that it sells to Avant, Inc. or its
              affiliates because “WebBank does not bear the predominant
              economic interest in the loans.” [#6 at 33] For example,
              Avant, Inc. paid the implementation fee to initiate the lending
              program, paid all of WebBank's legal fees in the program,
              bears all of the expenses incurred in marketing the lending
              program to consumers, determines which loan applicants
              will receive Avant Loans and bears all costs of making these
              determinations, ensures the program complies with federal
              and state law, assumes responsibility for all servicing and
              administration of the Avant Loans “even during the period
              before WebBank sells the loans to Avant, Inc. or its
              affiliates,” and assumes responsibility for all communications
              with loan applicants and consumers who receive Avant
              Loans. [Id. at 34(a)-(j)] Additionally, Avant, Inc. bears all
              risk of default, and indemnifies WebBank against all claims
              arising from WebBank's participation in the lending program.
              [Id. at 34(l)] Avant, Inc., along with the other non-bank
              entities, collects 99% of the profits on the loans while

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                 “WebBank's share in the profit is only approximately one
                 percent.” [Id. at 34(o); see also #28 at 4]

                 The Administrator alleges that a primary purpose of
                 WebBank's arrangement with Defendants “is to allow Avant,
                 Inc. or other non-banks to circumvent state laws, including
                 Colorado laws, that limit the interest rates and other finance
                 charges that may be assessed on the Avant Loans.” [#6 at
                 29] Avant of CO and Avant, Inc. “have undertaken direct
                 collection of payments from or enforcement of rights against
                 consumers arising from” these loans [Id. at 19], and collect
                 delinquency charges on the loans for late payments [Id. at
                 22-23]. Defendants “have made or collected charges from
                 consumers” on these loans “which exceed the maximum
                 finance charges that are permitted for supervised loans
                 under Colorado Law.” [Id. at 20] The written agreements
                 evidencing the Avant Loans also purport to apply Utah state
                 law to the agreements. [Id. at 24]

                 In January 2016, the Administrator conducted a compliance
                 examination of Avant of CO, pursuant to Colo. Rev. Stat.
                 § 5-2-305. [Id. at 36] In the subsequent report of
                 examination, the Administrator informed Avant of CO that it
                 was charging finance and delinquency charges in violation of
                 Colorado law, and that the loan agreements providing for the
                 application of Utah law also violated Colorado law. [Id. at
                 37] The Administrator directed Avant of CO to issue refunds
                 to consumers for the excess charges and fees, and to apply
                 Colorado law to any loan agreements. [Id. at 38] Avant of
                 CO responded that its relationship with WebBank preempted
                 Colorado finance charge limits and choice of law restrictions.
                 [Id. at 39] The Administrator rejected this position and
                 again requested that Avant of CO take corrective action. [Id.
                 at 40] Avant of CO refused. [Id. at 41]

   (ECF No. 62 at 2–4 (citations as in original; footnote omitted).)

                                   III. LEGAL STANDARDS

   A.     Review Under Federal Rule of Civil Procedure 72(b)

          When a magistrate judge issues a recommendation on a dispositive matter,

   Federal Rule of Civil Procedure 72(b)(3) requires that the district judge “determine de


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   novo any part of the magistrate judge’s [recommendation] that has been properly

   objected to.” An objection to a recommendation is properly made if it is both timely and

   specific. United States v. One Parcel of Real Property Known as 2121 East 30th St.,

   73 F.3d 1057, 1059 (10th Cir. 1996). An objection is suf ficiently specific if it “enables

   the district judge to focus attention on those issues—factual and legal—that are at the

   heart of the parties’ dispute.” Id. In conducting its review, “[t]he district court judge may

   accept, reject, or modify the recommendation; receive further evidence; or return the

   matter to the magistrate judge with instructions.” Id. Here, Avant filed a timely and

   sufficiently specific Objection (ECF No. 69), and the Court engages in de novo review.

   B.     Federal Question Removal & Complete Preemption

          A case that has been removed to federal court pursuant to 28 U.S.C. § 1441

   must be remanded back to state court if, at any time prior to final judgment, the federal

   court finds that it lacks subject matter jurisdiction. 28 U.S.C. § 1447(c). The party

   invoking federal jurisdiction via removal has the burden of showing that removal is

   proper. Lindstrom v. United States, 510 F.3d 1191, 1193 (10th Cir. 2007) (citing McNutt

   v. Gen. Motors Acceptance Corp. of Ind., 298 U.S. 178, 189 (1936)). Courts must

   strictly construe the requirements of removal jurisdiction and “all doubts are to be

   resolved against removal.” Fajen v. Found. Reserve Ins. Co., 683 F.2d 331, 333 (10th

   Cir. 1982).

          In the absence of diversity of citizenship, a case may be tried in federal court

   when the civil action arises “under the Constitution, laws, or treaties of the United

   States.” 28 U.S.C. § 1331; see also Pan Am. Petroleum Corp. v. Superior Court of Del.



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   In and For New Castle Cnty., 366 U.S. 656, 663 (1961) (there is no federal question

   jurisdiction “unless it appears from the face of the complaint that determination of the

   suit depends upon a question of federal law.”).

          “[A] right or immunity created by the Constitution or laws of the United States

   must be an element, and an essential one, of the plaintiff's cause of action . . . and the

   controversy must be disclosed upon the face of the complaint, unaided by the answer

   or by the petition for removal.” Id. at 663 (quoting Gully v. First Nat’l Bank, 299 U.S.

   109, 112–13 (1936)). This “well-pleaded complaint rule” provides that “the plaintiff is

   the master of the complaint, that a federal question must appear on the face of the

   complaint, and that the plaintiff may, by eschewing claims based on federal law, choose

   to have the cause heard in state court.” Caterpillar Inc. v. Williams, 482 U.S. 386,

   398-99 (1987).

          “The fact that a court must apply federal law to a plaintiff's claims or construe

   federal law to determine whether the plaintiff is entitled to relief will not confer subject

   matter jurisdiction” Dunlap v. G&L Holding Grp. Inc., 381 F.3d 1285, 1291-92 (11th Cir.

   2004) (emphasis in original); Felix v. Lucent Techs., Inc., 387 F.3d 1146, 1154 (10th

   Cir. 2004). Nor is it be enough that an asserted or anticipated defense “relies on the

   preclusive effect of a prior federal judgment, or the pre-emptive effect of a federal

   statute.” Beneficial Nat'l Bank v. Anderson, 539 U.S. 1, 6 (2003) (“Beneficial”) (citing

   Rivet v. Regions Bank of La., 522 U.S. 470 (1998)); Franchise Tax Bd. of Cal. v.

   Construction Laborers Vacation Trust for Southern Cal., 463 U.S. 1 (1983); Devon

   Energy Prod. Co., L.P. v. Mosaic Potash Carlsbad, Inc., 693 F.3d 1195, 1204 (10th Cir.



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   2012) (“Ordinarily, neither the plaintiff's anticipation of a federal defense nor the

   defendant’s assertion of a federal defense is sufficient to make the case arise under

   federal law.” (internal quotation marks omitted; alterations incorporated)); Felix, 387

   F.3d at 1154 (“a federal defense, even one relying on the preclusive effect of a federal

   statute, is not enough to authorize removal to federal court.”).

          However, as a corollary to the well-pleaded complaint role, the complete

   preemption doctrine allows, in limited circumstances that “a state law cause of action

   may be removed to federal court on the theory that federal preemption makes the state

   law claim necessarily federal in character.” Devon, 693 F.3d at 1203 (internal quotation

   marks omitted).

          The doctrine of complete preemption should not be confused with ordinary

   preemption, which occurs when there is the defense of “express preemption,” “conflict

   preemption,” or “field preemption” to state law claims. Express preemption is limited to

   those situations where a federal statute expressly preempts state law. Arizona v.

   United States, 567 U.S. 387 (2012). Conflict preemption contemplates those situations

   where it is impossible to comply with both federal and state law, and state law creates

   an obstacle to the congressional intention in enacting a federal statute. Id. Field

   preemption occurs where a pervasive framework leaves no room for the state to act, or

   where the federal interest is so dominant that it precludes enforcement of state law on

   the same subject. Id. However, these concepts are distinct from complete preemption,

   Felix, 387 F.3d at 1156, providing only a federal “defense to the allegations,”

   Caterpillar, 482 U.S. at 392. As a mere defense, however, the “preemptive effect of a



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   federal statute . . . will not provide a basis for removal.” Beneficial, 539 U.S. at 6. “[A]

   state cause of action may not be viable because it is preempted by a federal law—but

   only if federal law provides its own cause of action does the case raise a federal

   question that can be heard in federal court.” Dutcher v. Matheson, 733 F.3d 980, 986

   (10th Cir. 2013)

          “By contrast, when complete preemption exists, there is ‘no such thing’ as the

   state action, since the federal claim is treated as if it appears on the face of the

   complaint because it effectively displaces the state cause of action.” Lontz v. Tharp,

   413 F.3d 435, 441 (4th Cir. 2005) (quoting Beneficial, 539 U.S. at 11). Because this

   doctrine undermines a plaintiff's ability to plead claims under the law of his or her

   choosing, the Supreme Court has been “reluctant” to find complete preemption. Id.

   (citing Metro. Life Ins. Co. v. Taylor, 481 U.S. 58, 65 (1987)). Complete preemption has

   been characterized as “quite rare,” Dutcher, 733 F.3d at 985 (internal quotation marks

   omitted), representing an “extraordinary pre-emptive power,” that “should not be lightly

   implied,” Devon 693 F.3d at 1204.

          Indeed, the Supreme Court has recognized complete preemption in only three

   areas, specifically, cases involving § 301 of the Labor Management Relations Act of

   1947; § 502 of the Employee Retirement Income Security Act of 1974 (“ERISA”);

   and—as most relevant here—in actions for usury against national banks under the

   National Bank Act. See Beneficial, 539 U.S. at 10–11 (National Bank Act); Metro. Life,

   481 U.S. at 66--67 (ERISA § 502(a)); Avco Corp. v. Aero Lodge No. 735, Int’l Ass’n of

   Machinists, 390 U.S. 557, 560 (1968) (Labor Management Relations Act § 301).



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          For complete preemption to apply, the challenged claims must “fall within the

   scope of federal statutes intended by Congress completely to displace all state law on

   the given issue and comprehensively to regulate the area.” Hansen v. Harper

   Excavating, Inc., 641 F.3d 1216, 1221 (10th Cir. 2011). T he Tenth Circuit has

   explained:

                 We read the term [“complete preemption”] not as a crude
                 measure of the breadth of the preemption (in the ordinary
                 sense) of a state law by a federal law, but rather as a
                 description of the specific situation in which a federal law not
                 only preempts a state law to some degree but also
                 substitutes a federal cause of action for the state cause of
                 action, thereby manifesting Congress’s intent to permit
                 removal.

   Schmeling v. NORDAM, 97 F.3d 1336, 1339 (10th Cir. 1996).

          Consequently, the Tenth Circuit has held that a claim of complete preemption

   requires a two-part analysis. The court must ask both “whether the federal regulation at

   issue preempts the state law relied on by the plaintiff,” and also “whether Congress

   intended to allow removal in such a case, as manifested by the provision of a federal

   cause of action to enforce the federal regulation.” Devon, 693 F.3d at 1205-06 (citation

   and internal punctuation omitted). Courts should usually begin with the second of these

   two inquiries. Id.; accord Schmeling, 97 F.3d at 1343 (interests of “comity and

   prudence” dictate that courts addressing remand should avoid needlessly addressing

   the first question, which will frequently require a discussion of the merits of the

   preemption defense).




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                                          IV. ANALYSIS

   A.       The Court Adopts the Recommendation

            Judge Varholak’s Recommendation began by observing that Section 27 “allows

   a state bank to charge interest rates permitted in its home state on loans made in

   another state, even if that interest rate would be unlawful in the state where the loan is

   made.” (Id. at 8–9.) The Recommendation noted this is similar to Sections 85 & 86 of

   the National Bank Act (“NBA”), which “allo[w] national banks to charge interest rates to

   the extent allowed by their home states, notwithstanding the laws of the states in which

   the loans are made,” and “se[t] forth the elements of a usury claim against a national

   bank.”

            Judge Varholak also summarized the holding in Beneficial National Bank v.

   Anderson, namely, that Sections 85 & 86 of the NBA “‘provide the exclusive cause of

   action’ for usury claims against national banks and ‘there is . . . no such thing as a

   state-law claim of usury against a national bank’ and thus the NBA com pletely preempts

   state law usury claims against national banks.” (Id. at 9 (quoting Beneficial, 539 U.S. at

   11).)

            Noting that the Supreme Court has not resolved “whether the FDIA completely

   preempts usury claims against state-chartered banks,” the Recommendation

   acknowledged that “courts have split” on the question of whether Section 27 completely

   preempts usury claims against state chartered banks” (id. at 10 (collecting cases),3 but


            3
            Cases reflecting this divided authority include Thomas v. U.S. Bank Nat. Ass’n ND, 575
   F.3d 794, 797 (8th Cir. 2009) (“Complete preemption does not exist here because the language
   of [Section 27] unlike the NBA, does not reflect Congress’ intent to provide the exclusive cause
   of action for a usury claim against a federally-insured state-chartered bank. To the contrary, a

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   also concluded that this Court “need not venture into this uncertain territory,” because in

   this case “the Administrator has not asserted a claim against a state bank” (id. at 11).

          The Recommendation reviewed numerous court decisions which “have

   repeatedly held that when claims are asserted against a non-bank entity, complete

   preemption does not apply . . . even if the non-bank defendant has a close relationship

   with a state or national bank.” (Id. at 11–12.)4


   close examination of the statutory language indicates Congress very clearly intended the
   preemptive scope of [Section 27] to be limited to particular circumstances.”; recognizing
   disagreement with Vaden II); Discover Bank v. Vaden, 489 F.3d 594, 606 (4th Cir. 2007)
   (“Vaden II”) (“we are hard-pressed to conclude other than that Congress intended complete
   preemption of state-court usury claims under the FDIA”); rev’d on other grounds, 556 U.S. 49
   (2009) (“Vaden III”) (holding the court lacked federal question jurisdiction to compel arbitration;
   “the Court of Appeals misidentified the dimensions of ‘the controversy between the parties * * *
   the whole ‘controversy between the parties’ [did] not qualify for federal-court adjudication”); and
   In re Cmty. Bank of N. Virginia, 418 F.3d 277, 295 (3d Cir. 2005) (“Community Bank”) (“[Section
   27] completely preempts any state law attempting to limit the amount of interest and fees a
   federally insured-state chartered bank can charge”).
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              Decisions cited by the Recommendation include: Cmty. State Bank v. Knox, 523 F.
   App’x 925, 930 (4th Cir. 2013) (“Knox II”) (no federal subject-matter jurisdiction where plaintiff
   did not bring claims against bank); Community Bank, 418 F.3d at 296–97; Commonwealth of
   Pennsylvania v. Think Fin., Inc., 2016 WL 183289, at *13 (E.D. Pa. Jan. 14, 2016) (“Think
   Finance”) (“The Third Circuit . . . distinguishes between claims against banks and claims
   against non-banks for purposes of preemption” (citing Community Bank, 418 F.3d at 296); “that
   there are no claims made against a bank is sufficient to avoid preemption”); Cmty. State Bank
   v. Knox, 850 F. Supp. 2d 586, 601 (M.D.N.C. 2012) (“Knox I ” ) (“[The] Plaintiffs chose to bring
   claims against only the non-bank entities and have asserted potential claims regardless of
   whether those entities are the true lenders or only the servicers of the loans at issue. As a
   result, the state-law claims . . . are simply state law claims against non-bank entities, and are
   not completely preempted by federal law.”), aff'd, Knox II, 523 F. App’x 925; Dandy v.
   Wilmington Fin., Inc., 2010 WL 11493721, at *6 (D.N.M. May 3, 2010) (“Plaintiff is not suing . . .
   any . . . . federal financial institution. The sole Defendant is [a non-bank]. * * * Because the
   alleged federal nature of Plaintiff's claim is not clear on the face of the Complaint, Defendant is
   using preemption only as a defense, which is generally not grounds for removal.”); W. Virginia
   v. CashCall, Inc., 605 F. Supp. 2d 781, 788 (S.D.W.Va. 2009) (“CashCall”) (“[T]he State's usury
   law claim is directed against CashCall, which is not a bank, and therefore, the claim does not
   invoke and cannot be completely preempted by the FDIA.”); Flowers v. EZPawn Okla., Inc., 307
   F. Supp. 2d 1191, 1196, 1204 (N.D. Okla. 2004) (no complete preemption where plaintiff’s
   claims were only brought against non-bank defendants); and Colorado ex rel. Salazar v. Ace
   Cash Exp., Inc., 188 F. Supp. 2d 1282, 1285 (D. Colo. 2002) (“Ace Cash”) (“Defendant and the
   national bank are separate entities and their relationship does not give rise to complete

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          Consistent with these several decisions, and particularly noting the 2002

   decision by Senior U.S. District Judge Wiley Y. Daniel of this Court in Ace Cash, supra

   note 3, the Recommendation resolved the present issue in the same way. Emphasizing

   that “the Administrator only asserts . . . . claims against [Avant],” “does not assert any

   claims against WebBank,” and that “the relief sought is related to the charges that

   [Avant has] imposed on the loans [it] purchased from WebBank” (id. at 15), and after

   distinguishing cases and arguments advanced by Avant which are further addressed

   below, the Recommendation concluded that the “Administrator’s state law claims are

   directed against [Avant],” which is not a state-chartered bank, and “[t]he claim s thus are

   not completely preempted by the FDIA, even if the Court were to find that complete

   preemption applies to usury claims against state-chartered banks” (id. at 22).

          The Court is broadly persuaded by the analysis set out in the Recommendation,

   and, applying de novo review under rule 72(b), agrees with Judge Varholak’s view of

   the applicable law, and adopts and affirms the Recommendation in its entirety.

   B.     Avant’s Objections are Unavailing

          In its Objection, Avant argues that Judge Varholak erred in four ways. Having

   reviewed the Motion, the Recommendation, Avant’s Objection, and all of the related

   briefs, the Court organizes its further discussion by addressing each of Avant’s four

   arguments in turn.

          1.     Complete Preemption Under Section 27

                 a.      “Any loan . . . made” by a Federally-Insured Bank


   preemption under the NBA. * * * Defendant's relationship with [a bank] does not elevate
   Defendant's status to that of a national bank.”).

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          Avant argues that the recommendation mis-applied the complete preemption

   doctrine inasmuch as Avant argues that Section 27 applies to “‘any loan . . . made’ by a

   state-chartered bank” and “makes no distinction between a cause of action against

   banks versus one against ‘non-bank defendants.’” (ECF No. 69 at 4 (quoting 12 U.S.C.

   § 1831d); emphasis in original.) Relatedly, Avant argues that under common law

   principles the assignee of a loan “steps into the shoes of the assignor” (id. at 5 (internal

   quotation marks omitted)), and thus “the complete preemption of state usury law [by

   Section 27] survives the assignment of the loans . . . to Avant,” meaning that complete

   preemption should apply regardless of whether the loan “is held by WebBank or

   assigned to Avant . . . or its affiliates or any other third party” (id. at 6). Thus, in Avant’s

   view, it is immaterial whether a loan is presently “held” by a State-chartered bank, so

   long as it was originally “made” by such a bank.

          In support, Avant argues that the text of Section 27 “makes no distinction

   between a cause of action against banks versus one against ‘non-bank defendants,’”

   and that an “exclusive federal cause of action for bringing a usury claim” is set out by

   Section 27 which “is tied to the scope of preemption,” and applicable to “‘any loan . . .

   made’ by a state-chartered bank,” regardless of whether another entity later acquires

   rights in the debt or loan. (ECF No. 69 at 5.)

          However, while Avant’s “any loan . . . made” argument relies on isolating three

   words from the statute, the language of § 1831d as a whole defeats Avant’s argument.

   Initially, the statute states its purpose is to prevent discrimination “against State-

   chartered insured depository institutions,” and does not, on its face, state any purpose

   with regard to institutions other than federally-insured banks, much less a

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   Congressional intent to broadly foreclose state law actions or to permit removal to

   federal court.

          Further, and significantly, the relevant text of § 1831d(a) states that “[a] State

   bank . . . . may, notwithstanding any State constitution or statute which is hereby

   preempted for the purposes of this section, . . . charge on any loan . . . or . . . note . . .

   or other evidence of debt, interest at a rate of not more than . . . the rate allowed by the

   laws of the State . . . where the bank is located.” 12 U.S.C. § 1831d(a). 5 This language




          5
              The statute in its entirety reads as follows:

                    (a) Interest rates

                    In order to prevent discrimination against State-chartered insured
                    depository institutions, including insured savings banks, or insured
                    branches of foreign banks with respect to interest rates, if the
                    applicable rate prescribed in this subsection exceeds the rate
                    such State bank or insured branch of a foreign bank would be
                    permitted to charge in the absence of this subsection, such State
                    bank or such insured branch of a foreign bank may,
                    notwithstanding any State constitution or statute which is hereby
                    preempted for the purposes of this section, take, receive, reserve,
                    and charge on any loan or discount made, or upon any note, bill
                    of exchange, or other evidence of debt, interest at a rate of not
                    more than 1 per centum in excess of the discount rate on
                    ninety-day commercial paper in effect at the Federal Reserve
                    bank in the Federal Reserve district where such State bank or
                    such insured branch of a foreign bank is located or at the rate
                    allowed by the laws of the State, territory, or district where the
                    bank is located, whichever may be greater.


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   governs what charges a “State bank” may impose, but again, does not on its face

   regulate interest or charges that may be imposed by a non-bank, including one which

   later acquires or is assigned a loan made or originated by a state bank.

          Moreover, the cause of action provided by § 1831d(b), does not on its face apply

   to actions against non-banks, instead providing a cause of action to “the person who

   paid” an excess rate of interest, who then “may recover in a civil action . . . from such

   State bank . . . .” 12 U.S.C. § 1831d(b). Contrary to Avant’s argument that the statute

   “makes no distinction” between banks and non-banks, and that its cause o f action does

   not distinguish between bank and non-bank defendants, the statutory text in fact

   provides for recovery “from [a] State bank,” but is silent as to any remedy or recovery

   against a non-bank such as Avant.

          Under the first, and here dispositive, inquiry of the two-part complete preemption

   analysis, the cause of action provided by § 1831d(b) does not manifest a Congressional


                 (b) Interest overcharge; forfeiture; interest payment recovery

                 If the rate prescribed in subsection (a) of this section exceeds the
                 rate such State bank or such insured branch of a foreign bank
                 would be permitted to charge in the absence of this section, and
                 such State fixed rate is thereby preempted by the rate described
                 in subsection (a) of this section, the taking, receiving, reserving,
                 or charging a greater rate of interest than is allowed by subsection
                 (a) of this section, when knowingly done, shall be deemed a
                 forfeiture of the entire interest which the note, bill, or other
                 evidence of debt carries with it, or which has been agreed to be
                 paid thereon. If such greater rate of interest has been paid, the
                 person who paid it may recover in a civil action commenced in a
                 court of appropriate jurisdiction not later than two years after the
                 date of such payment, an amount equal to twice the amount of
                 the interest paid from such State bank or such insured branch of a
                 foreign bank taking, receiving, reserving, or charging such
                 interest.

          12 U.S.C. § 1831d

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   intent to allow removal of actions such as this one, which pleads only state law claims,

   brought against a non-bank entity. See Devon, 693 F.3d 1195. In sum, the Court is

   unpersuaded by Avant’s “any loan . . . made” argument, as lacking a sound basis in the

   statutory text. The Court cannot agree that the language of § 1831d manifests a

   Congressional intent to allow removal, which should “not be lightly implied.” See id. at

   1204, 1205-06. Nor is the Court persuaded that § 1831d ref lects Congressional intent

   to “completely to displace all state law,” Hansen, 641 F.3d at 1221, including as to state

   regulation of lenders who are neither banks chartered in other states nor f ederally

   insured, or to displace state regulation of other, similarly situated non-bank defendants

   who violate state-law lending protections. Accordingly, this is not an instance that gives

   rise to the “rare” and “extraordinary” doctrine of complete preemption, and so removal

   was improper. Cf. Dutcher, 733 F.3d at 987 (“the absence of a federal cause of action

   precludes us from relying on complete preemption as a jurisdictional basis for the

   district court to act”); accord CashCall, 605 F. Supp. 2d at 786, 788 (“The totality of the

   Complaint shows that the State’s suit is directed against a single, specific entity

   violating . . . state laws including the usury law—that entity is . . . not the Bank.”; “as . . .

   in [Ace Cash] . . . [t]he Complaint strictly is about a non-bank’s violation of state law. It

   alleges no claims against a . . . bank” (emphasis in original)). Whether or not Section

   27 gives rise to a defense of preemption on the merits of Plaintiff’s claims, it does not

   establish complete preemption or permit removal of the Administrator’s exclusively
                                        6
   state-law claims to federal court.


          6
           Even as to the question of whether § 1831d gives rise to complete preemption of
   claims against banks, courts which have held there is not such complete preemption have

                                                  17
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                 b.     Beneficial and Sawyer

          The Administrator correctly—and tellingly—points out that “Avant does not cite a

   single case that has relied upon its ‘any loan . . . made’ argument to conclude that usury

   claims against non-banks are completely prempted,” and that “Avant’s argument is

   contrary to the . . . decisions . . . [that] uniformly hold that Section 27 of the FDIA, and [§§

   85 & 86] of the National Bank Act do not apply to non-bank entities, and that state usury

   claims against such non-banks . . . are not completely preempted.” (ECF No. 73 at 3.)

          In this respect, the Court agrees with the Administrator’s argument against

   removal, with the Recommendation’s conclusion that “[o]ther courts have consistently

   come to the same conclusion, especially when the plaintiff has pled facts suggesting

   that the non-bank is the true lender” (ECF No. 62 at 14), and w ith the conclusion of U.S.

   District Judge James A Beaty, Jr. in Knox I that “the weight of authority” supports “the

   conclusion that state law claims brought only against non-bank are not subject to

   complete preemption, even if the state law claims would have been subject to complete

   preemption if they had been brought against a national or state-chartered bank.” 850 F.

   Supp. 2d at 598–99 (emphasis added; gathering additional authorities).

          Avant’s argument to the contrary relies principally on Beneficial and on Sawyer v.



   distinguished the text of § 1831d from the provisions of the NBA addressed in Beneficial,
   finding the preemption language in Section 27 too equivocal to give rise to complete
   preemption, in contrast to the relevant language in the NBA. See, e.g., Thomas, 575 F.3d at
   797; Robinson v. First Hawaiian Bank, 2017 WL 3641564, at *6 (D. Haw. Aug. 24, 2017)
   (finding the language of § 1831d “evinces a contingency—i.e., state law is preempted only if
   and when a specific interest rate comparison test is met. Since the language is unmistakably
   conditional . . . Congressional intent could not have been to completely preempt the field”
   (emphasis in original)); Robinson v. Bank of Hawaii, 2017 WL 2901333, at *5, 6 (D. Haw. July
   7, 2017) (“The limiting language contained in [Section 27] does not reflect an intent by
   Congress to convert all state law usury claims into federal question causes of action.”).

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   Bill Me Later, Inc., 23 F. Supp. 3d 1359 (D. Utah 2014). The Recommendation

   considered both at length, and neither supports Avant’s complete preemption

   argument.

          In Beneficial, borrowers sued the bank from which they obtained certain short-

   term loans, alleging common law usury and violation of a state statute limiting

   excessive interest. 539 U.S. at 4, 9. The Supreme Court recognized complete

   preemption, holding the “the National Bank Act [NBA] provide[s] the exclusive cause of

   action for usury claims against national banks.” See Id. at 9 (emphasis added). No

   less than eight times, the Supreme Court’s discussion framed the issue as whether

   complete preemption applied to claims and remedies sought “against a national bank.”

   See id. at 5–11; see, e.g. id. at 9 (“Only if Congress intended § 86 to provide the

   exclusive cause of action for usury claims against national banks would the statute”

   [give rise to complete preemption]” (emphasis added)); id. at 11 (“In actions against

   national banks [the NBA] supersede[s] . . . . state usury laws and create[s] a federal

   remedy . . . . that is exclusive” (emphasis added)). Thus, neither the holding nor the

   reasoning of Beneficial provides any support to Avant’s argument that complete

   preemption “travels with the loan,” and should apply equally to claims brought against

   either banks or their assignees. (See ECF No. 69 at 5.)

          In Sawyer, the plaintiff used eBay/PayPal’s “Bill Me Later” program to finance an

   online purchase. 23 F. Supp. 3d at 1360. T he Bill Me Later entity facilitated such loans

   and acted as a “service provider,” performing credit checks and other services, id. at

   1361, while the originating lender was a Utah-chartered, federally insured bank (first

   CIT Bank, later WebBank, the same bank involved in the lending program here), id. at

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   1360. Similar to the facts here, WebBank generally sold the loans two days after they

   were originated, including to the Bill Me Later entity. Id. Plaintiff sued Bill Me Later,

   alleging violation of California statutes and usury law. See Id. at 1360, 1361–62. In

   granting Bill Me Later’s motion to dismiss the claims under Rule 12(b)(6), U.S. District

   Judge Clark Waddoups held that “in light of the express preemption of Section 27 of the

   FDIA of Plaintiff’s usury and late fee claims * * * Plaintiff cannot allege that Utah does

   not allow the interest rates and late fees disclosed and then charged” on the loans

   initiated by Utah banks. Id. at 1370 (emphasis added).

          Sawyer thus dealt with the defense of express preemption. It did not address

   complete preemption, nor the relevant concerns of federal question jurisdiction and

   removal. To the contrary, Judge Waddoups expressly described as “inapposite” and

   “inapplicable,” cases cited which were “dealing . . . with the issue of complete

   preemption for removal jurisdiction.” Id. at 1369 (citing Vaden II, 489 F.3d at 602, and

   Flowers, 307 F. Supp. 2d at 1205). 7

          Thus neither Beneficial nor Sawyer dealt with the issue raised here, whether

   Section 27 gives rise to complete preemption permitting removal of state law claims

   asserted against a non-bank entity. To the extent Avant argues that Section 27 should

   be read to incorporate the common law principle “that the assignee steps into the shoes

   of the assignor,” the Court finds this reiteration of the “any loan . . . made” argument is

   insufficient to overcome the lack of either a textual basis or any prior case law



          7
           To the extent Sawyer relied on Beneficial as “holding [an] action [was] expressly
   preempted” under the NBA, it mischaracterized the holding of Beneficial as addressing express
   preemption, rather than complete preemption. See Sawyer, 23 F. Supp. 3d at 1363.

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   supporting Avant’s argument that “complete preemption travels with the loan.”

                 c.     “Suing the Wrong Party”

          Avant’s reliance on Hogan v. Jacobson, 823 F.3d 872, 880 (6th Cir. 2016) for the

   proposition that the administrator “may not evade complete preemption merely by suing

   the wrong party” is also unavailing. (See ECF No. 69 at 5.) Even assuming the

   analysis of Hogan (an ERISA case) applies here, the relevant inquiry under its analysis

   would be “whether the facts alleged in the complaint actually implicate a federal cause

   of action.” 823 F.3d at 880. As analyzed above, the Court is unpersuaded that the

   Administrator’s state law claims, brought only against non-bank entities, implicate any

   federal cause of action.8

          Moreover, the Court finds that this is not a case where the Administrator is “suing

   the wrong party” or manipulating her pleadings to avoid preemption. As pled in the

   Complaint and summarized in the Recommendation, Avant provides the website

   through which customers apply for the Avant Loans, Avant develops the criteria for

   making loans, Avant decides which applicants will receive the loans, and Avant (or its

   affiliates) purchases the loans within two days after they are made by WebBank. (See

   ECF No. 62 at 16; see generally ECF No. 6 ¶¶ 7–32.) Avant also ensures the


          8
             WebBank has not sought to intervene (perhaps lending support to both the
   Administrator’s position that Avant is the “true lender,” and an argument that Avant, not
   WebBank, is the real party in interest), but WebBank did file an amicus brief in support of
   Avant’s Objection to the Recommendation. (ECF No. 68-1.) WebBank makes the same
   “wrong party” and “any loan . . . made” arguments which the Court has addressed above. (ECF
   No. 68-1 at 1–2 (citing Hogan, 823 F.3d at 880).) WebBank’s passing citation to David P.
   Coldesina, D.D.S., P.C. v. Estates of Simper, 407 F.3d 1126, 1139 (10th Cir. 2005) is
   inapposite and equally unavailing. (ECF No. 68-1 at 2.) Coldesina did not address remand, but
   held that because a direct claim against an ERISA fiduciary was pre-empted, a derivative claim
   for vicarious liability based on the fiduciary’s actions was also preempted. 407 F. 3d at 1139.
   That conclusion has no bearing here.

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   program’s compliance with state and federal law, services and administers the loans,

   bears all the risk on the loans in the event of default, pays all the legal fees and

   expenses related to the lending program, retains 99% of the profits on the loans, and

   indemnifies WebBank against all claims arising from WebBanks’s involvement in the

   loan program. (ECF No. 62 at 16.) These circumstances are far closer to CashCall

   than to Hogan, or any other case cited by Avant, and the Court sees no impropriety in

   the Administrator having pled state law claims solely against Avant. See CashCall, 605

   F. Supp. 2d at 786–87 (concluding “[t]he Complaint as a whole . . . . is directed against

   CashCall, rather than the Bank,” and finding an “absence of any indication that the

   State artfully pled its claims . . . to thwart federal question jurisdiction”).

          2.      Prior Cases Remanding Claims Brought Against Non-Banks Are Not
                  Meaningfully Distinguishable

          Avant argues the Recommendation erred by relying on Ace Cash and other

   cases that found no complete preemption as to claims brought exclusively against non-

   bank defendants. See supra, note 3. Avant argues that whereas in Ace Cash the

   defendant was “an ‘agent for loans made by [the bank],’” here Avant is the assignee of

   the loans originated by WebBank. (ECF No. 69 at 7.) According to Avant, the

   Recommendation “misses the legal significance of the assignment of loans,” and Avant

   argues that it is this assignment which is the critical fact permitting removal of claims

   brought against Avant, as the assignee or purchaser of loans originated by WebBank,

   rather than merely a service provider or agent. (Id. at 7.) As analyzed above, however,

   the Court rejects Avant’s argument that Section 27 completely preempts claims brought

   against non-bank assignees, or evinces an intent to have complete preemption “trave[l]


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   with loan.”

          Moreover, while Avant argues that the assignment of WebBank’s loans makes

   this case most analogous to Krispin v. May Dep’t Stores Co., 218 F.3d 919, 924 (8th

   Cir. 2000), Krispin does not support a finding of complete preemption here. In Krispin,

   the plaintiffs were holders of credit cards issued by a department store, which were later

   assigned to a bank that was “a wholly-owned subsidiary of the store . . . established

   specifically for the purpose of taking over the store’s credit card operations,” under

   terms which permitted the store to unilaterally modify the credit terms. Id. at 923.

          The Eighth Circuit found complete preemption of claims brought against the

   store under state law, agreeing that the store’s assignment of the accounts was “fully

   effective to cause the bank, and not the store, to be the orig inator of appellants’

   accounts,” given that “appellants’ accounts are now controlled by the bank.” 218 F.3d

   at 924. Noting that “the bank, and not the store . . . issues credit, processes and

   services customer accounts, and sets . . . interest and late f ees,” the court held that “in

   these circumstances . . . it makes sense to look to the originating entity (the bank) and

   not the ongoing assignee (the store), in determining whether the NBA applies.” Id.

   Finding that “the real party in interest [was] the bank, not the store,” the court held the

   “state law usury claims against the store therefore implicate the NBA” and were subject

   to complete preemption. Id. at 924 (emphasis added).

          Thus, both the analysis and the result in Krispin rested on facts not present here.

   In Krispin, the bank was the assignee of the credit accounts and broadly in control of

   those accounts, leading the court to find that the bank was the real party in interest.

   Something close to the opposite holds true here, where the non-bank, Avant, is the

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   assignee of the loans, Avant has only a contractual relationship with WebBank, which

   plays only an ephemeral role in making the loans, then immediately sells them, and it is

   Avant which generally directs the fees and activities that allegedly violate state law.

   (See ECF No. 62 at 16.) To the extent a “real party in interest” analysis akin to the

   analysis conducted in Krispin is appropriate in this case, the facts here would lead to

   the opposite conclusion.

          The Court is also unpersuaded by Avant’s argument that the Supreme Court’s

   2003 decision in Beneficial undermines the application of Ace Cash or other cases that

   preceded Beneficial and are unhelpful to Avant’s arguments—a contention Avant

   advances even though it seems happy to rely on pre-Beneficial cases where they

   support its positions. As detailed above, Beneficial did not address claims brought

   against a non-bank, and the Court sees no way in which Beneficial alters the conclusion

   in Ace Cash, or in the numerous cited cases to have reached similar conclusions where

   exclusively state law claims are properly pled only against non-bank defendants. See

   supra, note 3.

          Avant also cites Vaden II, 489 F.3d 594, and Community Bank, 418 F.3d 277, as

   ostensibly standing for the proposition that “usury claims as to loans originated by a

   state-chartered federally insured banks are completely preempted under Section 27.”

   (ECF No. 69 at 9.) As noted above, other courts have disagreed as to this conclusion,

   even as to claims plainly brought against state-chartered banks. Supra, note 2.

          Moreover, the cases cited by Avant do not support its argument here. Vaden

   originated as a “garden-variety, state-law-based contract action” in which the “servicing

   affiliate” of a state-chartered bank sued to collect an unpaid credit card balance. Vaden

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   III, 556 U.S. at 54; see also Vaden II, 489 F.3d at 597. The customer filed usury-

   related counterclaims, and the bank then sought to compel arbitration under the

   Federal Arbitration Act (“FAA”), claiming the counterclaims were completely preempted

   under Section 27, giving rise to federal jurisdiction. Vaden II, 489 F.3d at 597. The

   Fourth Circuit concluded it must first determine whether the bank was “the real party in

   interest with respect to . . . [the] counterclaims,” reasoning that if the bank “is not the

   real party in interest . . . the FDIA does not apply because [the servicing affiliate] is not

   a bank, and therefore the counter-claims implicate no federal law.” Id. at 601.

          Engaging in a fact-specific analysis, the Fourth Circuit found the bank was the

   real party in interest, and went on to hold that Section 27 completely preempted the

   plaintiff’s state law usury counterclaims, at least to the extent asserted “against a state-

   chartered, federally insured bank that is the real party in interest of a state court

   dispute.” See id. at 603–04. The Supreme Court reversed, applying the rule that

   “[f]ederal jurisdiction cannot be predicated on an actual or anticipated def ense . . . .

   Nor can federal jurisdiction rest upon an actual or anticipated counterclaim ,” 556 U.S. at

   60, and holding that even “a completely preempted counterclaim remains a

   counterclaim and thus does not provide a key capable of opening a federal court’s

   door,” id. at 66.

          Thus, even assuming that the Fourth Circuit’s Vaden II opinion continues to have

   any persuasive force following its reversal, to have application here, Avant would need

   to show WebBank is the real party in interest to the Administrator’s enforcement action,

   given that even the Fourth Circuit’s analysis concluded that if the bank “is not the real

   party in interest . . . the FDIA does not apply.” Id. at 601. Avant, however, has not

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   made a showing that WebBank (or any other federally-insured bank) is the real party in

   interest, instead relying on the far broader argument that complete preemption applies

   in perpetuity to any assignee of loans originated by WebBank. (See ECF No. 69 at

   4–7.) Vaden II never stood for such a sweeping proposition, and the Court has already

   rejected Avant’s argument that Section 27 creates complete preemption as to any non-

   bank assignee.

          Thus, both Avant’s emphasis on the “contractual shifting of rights through an

   assignment” and its reliance on Vaden are unavailing. (See ECF No. 69 at 9–10.) As

   with Krispin, to the extent complete preemption might depend on a real party in interest

   analysis, as conducted in Vaden II, the facts here must lead to the opposite result.

   Here, Avant is for all practical purposes in control of the Avant loans, and it has

   indemnified WebBank, whose role was short-lived and is now entirely in the past. In

   Vaden II, by contrast, the bank remained “the party in charge of setting the terms and

   conditions,” and the set the guidelines implemented by the affiliate servicing provider,

   which the bank also indemnified. (Compare ECF No. 62 at 15 and ECF No. 6 with

   Vaden II, 489 F.3d at 602–03.)

          Moreover, as the Recommendation observed, since the Supreme Court’s

   reversal in Vaden III, the Fourth Circuit has held, on facts more applicable here, that

   “claims against . . . non-bank loan servicers fall squarely outside the scope of the

   FDIA.” Knox II, 523 F. App’x at 929. Thus, the Fourth Circuit itself does not apply

   Vaden II as standing for the broad proposition advanced by Avant, namely, that Section

   27 completely preempts all usury claims “as to loans originated by a state-chartered



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   federally insured ban[k].” (ECF No. 69 at 9.)9

          3.     True Lender

          Avant next objects that the Recommendation “wrongly conclude[d] that

   allegations that a bank was not the ‘true lender’ are sufficient to defeat federal

   jurisdiction.” (ECF No. 69 at 12.) Avant claims that the issue of whether it is the “true

   lender” “is a purely legal question whether . . . factual allegations in the complaint . . . .

   are legally sufficient to treat Avant as the ‘true lender’ notwithstanding that it did not

   make the loans,” and argues that this question “must be decided under federal law.”

   (ECF No. 69 at 11–12.)

          The Court finds no error in the Recommendation’s treatment of the Complaint’s

   “true lender” allegations (ECF No. 6 ¶¶ 32–34), and finds, moreover, that this issue is

   not controlling of the Court’s removal jurisdiction. The Court disagrees with Avant’s

   characterization that the Recommendation treated the “true lender” issue as controlling

   or sufficient by itself to warrant remand. (See generally ECF No. 62 at 11–14.)

   Moreover, even if resolution of the Administrator’s “true lender” allegations might

   support a defense of federal preemption (i.e., if Avant can disprove the allegations and

   prove that WebBank is in fact the true lender), and even if Avant is correct that this

   issue may ultimately be undisputed or could be determined a matter of law, the Court



          9
             Similarly, contrary to Avant’s reliance on Community Bank, 418 F.3d at 295–96, at
   least one decision in the Third Circuit has since applied the lengthy analysis in Community Bank
   as “distinguish[ing] between claims against banks and claims against non-banks for purposes
   of preemption.” Think Finance, 2016 WL 183289, at *13; Community Bank, 418 F.3d at 296
   (“Sections 85 and 86 of the NBA and Section 521 of the DIDA apply only to national and state
   chartered banks, not to non-bank purchasers of . . . loans * * * Several courts have explored the
   issue of removal in cases involving complaints very similar . . . and found removal improper.”
   (citing with approval to Flowers and Ace Cash, while distinguishing Krispin)).

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   finds this at most gives rise to a preemption defense, but does not reflect complete

   preemption, nor create a federal question permitting removal under the well-pleaded

   complaint rule. See Caterpillar, 482 U.S. at 398–99; Vaden III, 129 S.Ct. at 1272

   (“Federal jurisdiction cannot be predicated on an actual or anticipated def ense.”). To

   the extent that Avant is simply arguing that the Administrator’s allegations should not by

   themselves control federal jurisdiction, that argument is contrary to the well-pleaded

   complaint rule.

          4.     Valid When Made Rule

          Lastly, Avant argues that the administrator’s claims “go to the core of WebBank’s

   powers to originate and sell loans that include rates and f ees” as permitted under Utah

   law, and “is an attack on the bank in the guise of an attack on an assignee,” i.e., Avant.

   (ECF No. 69 at 13–14.) Therefore, Avant argues, the Recommendation conflicts with

   the long-established “valid-when-made” rule by allowing “that a contract free from usury

   in its origins can be made usurious by subsequent transactions.” (Id. at 15 (citing

   Gaither v. Farmers & Mechanics Bank of Georgetown, 26 U.S. 37 (1828) and Nichols v.

   Fearson, 32 U.S. 103 (1833)).)

          Amici likewise emphasize the importance of the valid-when-made rule,

   describing this as a “cardinal rule” of banking law. (See, e.g., ECF No. 49 at 5 (quoting

   Nichols v. Fearson, 32 U.S. 103 (1833)).)

          Amici, generally-speaking, are organizations that represent the interests of

   banks, lenders, and the purchasers or assignees of loans initiated by banks. They

   argue, generally speaking, that lending programs similar to the Avant loans allow the

   financial industry to extend credit, including for lower costs, and to consumers who

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   might otherwise lack access to credit; they argue the importance of allowing “rate

   exportation” across state borders; they emphasize the importance of a stable secondary

   market and settled legal expectations for selling and assigning loans; and, they

   advance arguments as to why the enforcement of state usury laws against loans

   originated by out-of-state banks but later sold or assigned would be contrary to

   Congressional intent and harmful in view of various policy arguments.10

          Avant and its amici argue that the valid-when-made rule “was firmly entrenched”

   when Congress enacted the NBA and Section 27 and that the Court should “take it as a

   given that Congress . . . legislated with an expectation that the principle will apply.”

   (See ECF No. 49 at 5; ECF No. 69 at 6 (both quoting Astoria Fed. Sav. & Loan Ass’n v.

   Solimino, 501 U.S. 104, 108 (1991)).)

          However, the Court agrees with the Recommendation that these arguments

   have little, if any, bearing on the issue of complete preemption. (See ECF No. 62 at

   20.) Even assuming the valid-when-made rule does provide Avant with a complete

   defense against the Administrator’s claims, and even if amici are correct that Congress

   meant to allow practices such as Avant’s, and also that such arrangements provide

   public benefits which should be preserved, absolutely nothing prevents Avant (or any

   other similarly-situated assignee of bank-originated debt) from asserting those

   arguments and maintaining that preemption defense in the state courts. None of these

          10
             See generally, e.g., Br. of Amici Curiae The Clearing House Association L.L.C., Am.
   Bankers Assoc. and Loan Syndic. and Trading Assoc. (ECF No. 49), Br. of Amicus Curiae The
   Marketplace Lending Assoc. (ECF No. 44-1); Br. of Amicus Curiae The Marketplace Lending
   Association, ECF No. 575, Meade v. Marlette Funding LLC, Case No. 1:17-cv-0575-PAB (D.
   Colo. May 3, 2017), Br. of Amici Curiae the Independent Cmty. Bankers of Am. and the NJ
   Bankers Assoc., ECF No. 36, Cross River Bank v. Meade, Case No. 1:17-cv-0832-PAB-KMT
   (D. Colo. June 7, 2017).

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   arguments provide grounds for removal, in derogation of the well pleaded complaint

   rule. Recognition of the valid-when-made rule thus offers no reason to infer that

   Congress impliedly provided for an exclusive federal forum, which no express statutory

   language provides.

          Lastly, the arguments raised by amici in very large part urge the Court not to

   follow the Second Circuit’s decision in Madden v. Midland Funding, LLC, 786 F.3d 246

   (2d Cir. 2015), cert. denied, 136 S.Ct. 2505 (2016). But Madden, which arose on

   dissimilar facts, did not raise complete preemption. In Madden, a national bank sold

   written-off credit card debt to a third party, which then sought to collect, claiming a 27%

   interest rate. Id. at 248. The plaintiff sued the collector under the Fair Debt Collection

   Practices Act and state usury law. Id. Addressing express preemption—not complete

   preemption—the Second Circuit reasoned that def endants had not “acted on behalf of

   a national bank,” but “solely on their own behalves,” id. at 251, distinguished Krispin, id.

   at 252–53, and held that “extension of NBA preemption to third-party debt collectors

   * * * would create an end-run around usury laws for non-national bank entities that are

   not acting on behalf of a national bank,” id. at 251–52, therefore rejecting the

   defendants’ argument that the plaintiff’s claims were preempted. Neither the facts nor

   the holding of Madden are implicated here.

          Amici clearly wish to avoid having Madden extended to other circuits (and likely

   seek a vehicle by which to have it overturned in the Supreme Court).11 But Madden did


          11
             The Protecting Consumers’ Access to Credit Act of 2017, H.R. 3299, 115th Cong., (2d
   Sess.) expressly seeks to nullify Madden by amending various statutory provisions, including
   Section 27, to codify the valid-when-made rule by making explicit in the statute that a “loan that
   is valid when made . . . shall remain valid . . . regardless of whether the loan is subsequently

                                                  30
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   not raise complete preemption, and the Administrator cites it only in passing, to reflect

   the isolated nature of the facts and analysis in Krispin. (See ECF No. 28 at 10 n.4.)

   Thus, there is no need here to either follow or reject Madden, nor to take up the views

   of the Office of the Comptroller of the Currency and the Federal Deposit Insurance

   Corporation, cited by Avant and amici, as to the alleged errors and consequences of

   Madden. Having concluded that Section 27 does not com pletely preempt claims

   brought against a non-bank defendant in Avant’s position, the Court declines the

   invitation of amici to address any broader preemption issues raised by Madden and the

   other authorities cited. See Schmeling, 97 F.3d at 1343 (in analyzing complete

   preemption, the court should avoid analysis unnecessarily bearing on the merits of the

   case).

                                        V. CONCLUSION

            For the reasons set forth above, the Court ORDERS as follows:

   1.       The Recommendation of U.S. Magistrate Judge Scott T. Varholak (ECF No. 62)

            is ADOPTED IN ITS ENTIRETY;

   2.       Defendants’ Objection to the Recommendation (ECF No. 69) is OVERRULED;

   3.       Plaintiff’s Motion to Remand for Lack of Subject Matter Jurisdiction (ECF No. 28)

            is GRANTED;

   4.       Defendants’ request for Oral Argument (ECF No. 66) and request for the Court to

            request briefing from the Office of the Comptroller of the Currency and/or the



   sold, assigned, or otherwise transferred to a third party, and may be enforced by such third
   party notwithstanding any State law to the contrary.” This bill was passed by the House of
   Representatives on February 14, 2018, but has not been acted upon by the Senate as of the
   date of this Order.

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         Federal Deposit Insurance Corporation (ECF No. 69 at 10) are both DENIED.

         Given the extensive briefing and argument already submitted and available to

         the Court, and given the nearly uniform authority supporting the

         Recommendation’s conclusions regarding complete preemption, the Court

         agrees with the Administrator that further argument or briefing would lead only to

         additional delay in resolving the Administrator’s already long-pending Motion

         (see ECF No. 74); and,

   5.    The Clerk shall REMAND this case to the District Court for the City and County

         of Denver, and shall terminate this action. The parties shall bear their own fees

         and costs.


         Dated this 1st day of March, 2018.

                                                   BY THE COURT:




                                                   William J. Martínez
                                                   United States District Judge




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